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                                               Certificate Number: 15725-NYE-CC-036508780


                                                                 15725-NYE-CC-036508780




                    CERTIFICATE OF COUNSELING

I CERTIFY that on April 28, 2022, at 1:55 o'clock PM EDT, Levi Balkany
received from 001 Debtorcc, Inc., an agency approved pursuant to 11 U.S.C. 111
to provide credit counseling in the Eastern District of New York, an individual [or
group] briefing that complied with the provisions of 11 U.S.C. 109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:    April 28, 2022                        By:      /s/Sandra Cecilia Velasquez Arcon


                                               Name: Sandra Cecilia Velasquez Arcon


                                               Title:   Issuer




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).
